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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



NATHANIEL POLLEY, NANCY QUIROZ,
SURYA VEERAVALLI, and DANIEL
GREENWALD, on behalf of
themselves and all others
similarly situated,
                                                  Case No. 20 C 4798
                      Plaintiffs,
                                             Judge Harry D. Leinenweber
            v.

NORTHWESTERN UNIVERSITY,

                      Defendant.


                                    ORDER
     Northwestern University brings this Motion to Dismiss Plaintiffs’

First Amended Complaint, which was filed in response to this Court’s

September   15,    2021,   Order     dismissing    the   original    Complaint.

Northwestern University argues that Plaintiffs again fail to state a

claim upon which relief may be granted and ask for dismissal under

Federal Rule of Civil Procedure 12(b)(6). For the reasons stated herein,

the Court denies the Motion to Dismiss.

                                   DISCUSSION

     The Court refers generally to the facts established in its earlier

Opinion and Order and from the Amended Complaint. (Dkt. Nos. 53, 55.)

In response to the COVID-19 pandemic in March of 2020, Northwestern

University informed current students that the 2020 Spring semester would

be suspended for several weeks and then classes would resume entirely
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remotely on April 4, 2020. (Am. Compl. ¶ 71, Dkt. No. 55.) At the end

of the semester, on June 16, 2020, Northwestern University sent an email

to all students announcing that the Fall 2020 classes would be primarily

online. (Id. ¶ 76.) In response to these changes to their educational

plans, Plaintiffs sued under the theory that Northwestern breached its

contract to students by not providing an in-person education.

     After this Court dismissed the claims, Plaintiffs filed their First

Amended Complaint, and Northwestern responded with a Motion to Dismiss.

(Dkt. Nos. 55, 58.) Since the filing of Northwestern’s Motion, the

Seventh Circuit has issued an opinion in a case with near-identical

claims against Loyola University in Gociman v. Loyola University of

Chicago, No. 21-1304, 2022 WL 2913751 (7th Cir. July 25, 2022). The

Seventh   Circuit   considered   whether   the   students’   claims   should     be

converted to educational malpractice claims, whether an express or

indirect contractual right to in-person services existed, or, in the

alternative, whether the students state a claim for unjust enrichment.

     The Seventh Circuit first held, as the Court did in its previous

Opinion and Order, that Plaintiffs do not plead educational malpractice,

which is not a cognizable claim under Illinois law and would have

required the Amended Complaint to be dismissed. Polley v. Nw. Univ., 560

F.Supp. 3d 1197, 1207 (N.D. Ill. 2021); Gociman, 2022 WL 2913751 at *5.

     The Seventh Circuit then analyzed whether or not there existed a

contractual right to an in-person education between Loyola University

and its enrolled students. The Seventh Circuit considered the following

evidence when reviewing whether an express or implied contractual promise

existed: “catalogs, registration portal, pre-pandemic practice, and


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different   charges   for   Loyola’s    online    versus   on-campus    programs.”

Gociman at *6. The Seventh Circuit found that, while these materials

were insufficient to create an express contract, the students alleged

“sufficient facts to plausibly state a claim that Loyola breached an

implied contract to provide students in-person instruction in exchange

for tuition.” Id.

      Finally, the Seventh Circuit found that the unjust enrichment claim

could proceed as an alternative claim when “the validity or the scope

of the contract is difficult to determine, or if the claim at issue falls

outside the contract.” Id. at *8 (citing Util. Audit, Inc. v. Horace

Mann Serv. Corp., 383 F.3d 683, 688–89 (7th Cir. 2004); Archon Constr.

Co., Inc. v. U.S. Shelter, LLC, 2017 IL App (1s) 153409, ¶ 39; Peddinghaus

v. Peddinghaus, 692 N.E.2d 1221, 1225 (Ill. App. Ct. 1998).) Because the

students in Gociman incorporated references to the alleged contract in

their unjust enrichment claim, the Seventh Circuit found the claim

technically deficient. The Seventh Circuit then ordered the lower court

to allow the students to replead their unjust enrichment claim without

reference to the contract. Id. at *9. With this recent guidance in mind,

the Court now turns to Plaintiffs’ Amended Complaint and reviews whether

it survives Northwestern’s Motion to Dismiss.

      In its Motion to Dismiss, Northwestern alleges that the Amended

Complaint suffers from the same fatal defects which caused the Court to

dismiss   the   initial   Complaint.    In     response,   Plaintiffs   point   the

following new facts.

      First, Plaintiffs allege there is an express contract between

Northwestern and the enrolled students through the promises made by


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Northwestern in its course catalogs, including its online course catalog

entitled “CAESAR.” (Am. Compl. ¶¶ 27—28.) The Court previously limited

its express contract analysis on the Plaintiffs’ admission letters.

Polley,   560   F.Supp.   3d   at   1207—08.   Plaintiffs   now   claim   that   the

combination of the print and online course catalog created an express

contractual obligation for an in-person education. As noted in the

dissent in Gociman, “in the context of class registration, it would be

off to treat every aspect of a class description as an enforceable

contractual promise.” Gociman, 2022 WL 2913751 at *11. And, as affirmed

by the majority, “every sentence in the catalog or registration portal

[does not] create an independent promise.” Id. at *6 n.6. The Court, in

line with the Seventh Circuit guidance, finds that the online course

catalog falls outside of the definition of an express promise that any

specific class would be held at the location indicated.

     Plaintiffs emphasize that Northwestern directed students to the

online registration and class listings for the final information about

the location of their classes, e.g., “[t]he class schedule for each

quarter is posted on [the online platform] CAESAR and contains a complete

and updated listing of classes offered each quarter. . .” (Resp. at 10,

Dkt. No. 65.) But the Court does not think that any one class with an

altered time and location from the online course catalog, even a time

or location switched mid-semester, would create a breach of contract for

the students enrolled in that class. The Court finds the information in

the online course catalog insufficient to create an express contractual

promise to students.




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     Plaintiffs        additionally          allege    that        the   statements      in

Northwestern’s promotional materials created an express contractual

promise as to the location of touted services. Plaintiffs point to

sentences that promise access such as, “Biological Science majors can

pursue research in any one of many laboratories located on or off-

campus.” (Am. Compl. ¶ 99.) The Court employs a similar analysis as

performed above. The temporary shut-down of any single laboratory would

cause this sentence to be inaccurate. A student could no longer choose

from any lab, and that student might be even prevented from doing the

research of his or her choice while enrolled. The result of holding

Northwestern      to   its   promotional       sentences      as    express    contractual

provisions   would     be    a   micromanagement       of    Northwestern’s      strategic

decisions and offering of services beyond the skills or purview of this

Court.

     Plaintiffs next point to an “Associated Student Government (ASG)

Activity Fee” that covers “special services and programs,” as well as

an “Athletic Events Fee” and an “Undergraduate Student Health Fee” as

evidence of an express contractual promise for physical access to on-

campus buildings. (Id. ¶¶ 64—69.) The Court performs the same analysis

and reaches the same result. If a student activity center, a student

health building, or a student gymnasium were undergoing renovations and

not open to students, even for several years, the Court would not find

a breach of contract based on Northwestern’s failure to adjust its fees.

Any one of these fees does not guarantee every student access to every

building related to the fee, because the exact contour of what is

available    to   students       naturally    varies    as    different       programs   are


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instituted and withdrawn and various buildings are built and renovated.

As a result, the Court does not find an express contract between the

students and Northwestern based on its fees and fee descriptions.

     The Court next turns to Plaintiffs’ claim that an implied contract

for in-person services and access exists. Like Gociman, students rely

on Northwestern’s “school policies, course catalog, course schedule,

representations, admission agreement, registration materials, course of

past conduct, and payment of tuition and fees.” (Compare Am. Compl. ¶

147 with Gociman, 2202 WL 2913751 at *6 (“Loyola's catalogs, registration

portal, pre-pandemic practice, and different charges for Loyola's online

versus on-campus programs . . . show an implied contract to provide in-

person instruction”).) The Court follows the Seventh Circuit opinion in

Gociman and finds that the accumulation of these facts shows an implied

contract of in-person services and physical access to the educational

facilities.

     Finally, the Court turns to the unjust enrichment claim. As in

Gociman, the Court originally dismissed Plaintiffs’ unjust enrichment

claim on technical grounds because it incorrectly incorporated the claims

of contractual obligations between the parties. Polley, 560 F.Supp. 3d

at 1209. Plaintiffs have now corrected this error and correctly plead

an unjust enrichment claim in the alternative.




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     Northwestern’s Motion to Dismiss (Dkt. No. 58) is denied.




                                            Harry D. Leinenweber, Judge
                                            United States District Court

Dated: 8/4/2022




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